UNITED STATES DISTRICT COURT
FOR THE
WESTERN DISTRICT OF WISCONSIN

 

LAURA ANNE RAPP,
LAURA RAPP, as Former Personal
Representative of the Laurence A. Berg Estate,

Plaintiffs,
Case No. l7-cv-00948-bbc

V.

ANDREW J. LAUFERS, KATHERINE BROWN HOLMEN,
DUDLEY AND SMITH, PA, and JOHN DOES l ~ 5,

Defendants.

 

ANSWER

 

Defendants, Andrew J. Laufers, Katherine Brown Holrnen, and Dudley and Smith, PA,
by their attorneys, Bell, Moore & Richter, S.C., hereby answer the Plaintiffs’ Complaint as

follows:

l. Answering Paragraph 1, lack knowledge or infonnation sufficient to form a belief
as to the truth of the matter asserted, and put the Plaintiff to her proof.

2. Answering Paragraph 2, lack knowledge or information sufficient to form a belief
as to the truth of the matter asserted, and put the Plaintiff to her proof.

3. Answering Paragraph 3, admit.

4. Answering Paragraph 4, admit.

5. Answering Paragraph 5, admit.

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Answering Paragraphs 6 through 10, lack knowledge or information sufficient to

form a belief as to the truth of the matter asserted, and put the Plaintiffto her proof.

B. STATEMENT OF CLAIM

Defendants deny each and every allegation in the Staternent of Claim that is not

specifically admitted elsewhere in this Answer. Affirmatively allege that Plaintiff Was advised

that the IRS Was not a party to the settlement agreement and that the Estate was insolvent

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C. .]URISDICTION AND VENUE
Answen'ng Paragraphs l admit.
Answering Paragraph 2, admit.
D. FACTUAL BACKGROUND
Answering Paragraph 3, admit.
Answeling Paragraph 4, admit.
Answering Paragraph 5, admit.
Answen`ng Paragraph 6, admit.

Answering Paragraph 7, admit in part. Lack knowledge or information as to the

contents of the NTSB Report, and put Plaintiff to her proof.

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lZ.b

Answering Paragraphs 8, admit.
Answering Paragraph 9, admit.
Answering Paragraph lO, admit.
Answering Paragraph ll, admit.
Answeling Paragraph 12, admit.
Answering Paragraph lZa, admit.

Answering Paragraph le, admit.

13. Answering Paragraph 13, admit.

14. Answering Paragraph 14, admit.

15. Answering Paragraph 15, admit.

16. Answering Paragraph 16, admit.

17. Answering Paragraph 17, admit.

18. Answering Paragraph 18, lacks knowledge or information as to the truth of the
matter asserted

19. Answen`ng Paragraph 19, upon information and belief, admit.

20. Answering Paragraph 20, admit.

21. Answering Paragraph 21, the allegation states a legal conclusion to which no
response is requiredl

22. Answering Paragraph 22, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof.

23. Answering Paragraph 23, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

24. Answering Paragraph 24, admit that Rapp and Brown Holmen spoke on the phone
on May 4, 2010. Deny that Brown Holmen told Rapp that all legal matters had to be handled by
the firm; affirmatively allege that Brown Holmen informed her that it might be convenient to
have both attorneys from the same firm and that her firm was equipped to do that.

25. Answering Paragraph 25, admit only as to Consent to Substitution of Attorneys;
lack knowledge or information sufficient to form a belief as to the remainder of Paragraph 25,

and put the Plaintiff to her proof.

26. Answering Paragraph 26, admit receiving payment nom Rapp as personal
representative to the Berg Estate but deny that the Defendants represented Rapp personallyl

27. Answering Paragraph 27, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof.

28. Answering Paragraph 28, admit.

29. Answering Paragraph 29, admit.

30. Answean Paragraph 30, admit that the Defendants filed a response to the Weller
petition while representing Rapp as personal representative of the Estate. Deny that they were
representing Rapp personally

31. Answering Paragraph 31, admit.

32. Answering Paragraph 32, admit.

33. Answering Paragraph 33, admit.

34. Answering Paragraph 34, admit.

35. Answering Paragraph 35, admit.

36. Answering Paragraph 36, deny that Brown Holmen filed any documents in this
matter. Admit that Laufers acted in an effort to limit claims due to the lack of money in the
Estate.

37. Answering Paragraph 37, admit. Affirrnatively allege that the claims were filed
before the Defendants were retained and should have been objected to by prior counsel.

38. Answering Paragraph 38, admit.

39. Answering Paragraph 39, admit.

40. Answering Paragraph 40, admit.

41. Answering Paragraph 41, admit.

42. Answering Paragraph 42, admit that the court so ruled.

43. Answering Paragraph 43, admit that the court so ruled, but affirmatively allege
that it was still possible to defend against the claims.

44. Answering Paragraph 44, admit.

45. Answering Paragraph 45, admit.

46. Answering Paragraph 46, deny.

47. Answering Paragraph 47, deny.

48. Answering Paragraph 48, admit.

49. Answering Paragraph 49, admit.

50. Answering Paragraph 50, admit.

51. Answering Paragraph 51, admit.

52. Answering Paragraph 52, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

53. Answering Paragraph 53, admit that Atty. Laufers received an email. Deny that
Brown Holmen received any email.

54. Answering Paragraph 54, admit.

55. Answering Paragraph 55, admit.

56. Answering Paragraph 56, admit.

57. Answering Paragraph 57, admit. Affirmatively allege that Plaintiff knew about the
IRS claims during the mediation.

58. Answering Paragraph 58, admit that Dudley provided Plaintiff with a letter. Lack
knowledge or information as to the lack of enclosures and therefore put Plaintiff to her proof

59. Answering Paragraph 59, admit.

60. Answering Paragraph 60, admit.

61. Answering Paragraph 61, admit.

62. Answering Paragraph 62, admit.

63. Answering Paragraph 63, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof.

64. Answering Paragraph 64, admit.

65. Answering Paragraph 65, admit.

66. Answering Paragraph 66, admit.

67. Answering Paragraph 67, admit.

68. Answering Paragraph 68, deny.

69. Answering Paragraph 69, admit that Plaintiff sent the correspondence and made
the comments stated therein. Lack knowledge or information as to the accuracy of the comments
and put Plaintiff to her proof`.

70. Answering Paragraph 70, admit that Plaintiff sent the email_ As to Plaintiff’S
interpretation of Wis. Stat. § 859.40, it sets forth a legal conclusion to which no response is
required

71. Answering Paragraph 71, admit that Plaintiff sent the email. As to the contents of
the email, lack knowledge or information as to the truth of the matter asserted and put Plaintiff to
her proof.

72. Answering Paragraph 72, deny.

73. Answering Paragraph 73, admit.

74. Answering Paragraph 74, deny that the request was “last minute” and “ill-timcd”

and deny the accuracy of the alleged quote.

75. Answering Paragraph 75, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof.

76. Answering Paragraph 76, admit.

77. Answering Paragraph 77, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Laufers was prepared for the mediation

78. Answering Paragraph78, deny.

79. Answering Paragraph 79, deny.

80. Answering Paragraph 80, deny.

81. Answering Paragraph 81, deny.

82. Answering Paragraph SZ, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

83. Answering Paragraph 83, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

84. Answering Paragraph 845 admit.

85. Answering Paragraph 85, admit.

86. Answering Paragraph 86, admit.

87. Answering Paragraph 87, admit that Laufers and Rapp discussed asking J ames
Berg to contribute $120,000 toward the settlement Deny the remaining allegations

88. Answering Paragraph 88, admit that a settlement agreement was reached on
.lanuary 10, 2012. Lack knowledge or information as to the meaning of the term “of sorts.”

89. Answering Paragraph 89, admit.

90. Answering Paragraph 90, admit.

9l. Answering Paragraph 91 , admit.

92. Answering Paragraph 92, deny the allegations as described Affmnatively allege
that the IRS tax lien needed to be paid in accordance with federal law.

93. Answering Paragraph 93, admit in part. Deny that the bill from the mediator was
“unanticipated.”

94. Answering Paragraph 94, admit.

95. Answering Paragraph 95, admit.

96. Answering Paragraph 96, deny that Laufers did not have a grasp of the Estate’s
financial position. Admit that Laufers advised Plaintiff to pay the WDOR.

97. Answering Paragraph 97, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

98. Answering Paragraph 98, admit.

99. Answering Paragraph 99, deny.

100. Answering Paragraph lOO, admit.

10 l. Answering Paragraph lOl, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affinnatively allege
that Defendants were no longer acting as counsel for Plaintiff

102. Answering Paragraph 102, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Aff'nmatively allege
that Defendants were no longer acting as counsel for Plaintiff

103. Answering Paragraph 103, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Aff`nmatively allege

that Defendants were no longer acting as counsel for Plaintiff

104. Answering Paragraph 104, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

105. Answering Paragraph 105, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

106. Answering Paragraph 106, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affumatively allege
that Defendants were no longer acting as counsel for Plaintiff

107. Answering Paragraph 107, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

lOS. Answering Paragraph 108, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that De endants were no lon

109. Answering Paragraph 109, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

llO. Answering Paragraph l 10, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affinnatively allege

that Defendants were no longer acting as counsel for Plaintiff

l l 1. Answering Paragraph lll, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Af`firmatively allege
that Defendants were no longer acting as counsel for Plaintiff

112. Answering Paragraph 112, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

113. Answering Paragraph 113, lack knowledge or information sufficient to form a
belief as tc the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

ll4. Answering Paragraph 114, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

115. Answering Paragraph 115, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that De,snua,,ts were no long .

116. Answering Paragraph 116, deny.

117. Answering Paragraph 117, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

118. Answering Paragraph llS, deny that Plaintiff"s civil rights were violated Lack
knowledge or information sufficient to form a belief as to the truth cf the matter asserted, and put

the Plaintiff to her proof Affirmatively allege that Defendants did not act as counsel for Plaintiff

after February 7, 2012.

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119. Answering Paragraph 119, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Aff`umatively allege
that Defendants were no longer acting as counsel for Plaintiff

120. Answering Paragraph 120, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants Were no longer acting as counsel for Plaintiff

121. Answering Paragraph 121, lack knowledge or information sufficient to form a
belief as to the truth cf the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

122. Answering Paragraph 122, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

123. Answering Paragraph 123, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel ,or Plainti_f.

124. Answering Paragraph 124, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affumatively allege
that Defendants were no longer acting as counsel for Plaintiff

125. Answering Paragraph 125, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege

that Defendants were no longer acting as counsel for Plaintiff

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126. Answering Paragraph 126, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

127. Answering Paragraph 127, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

128. Answering Paragraph 128, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

129. Answering Paragraph 129, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirrnatively allege
that Defendants were no longer acting as counsel for Plaintiff

130. Answering Paragraph 130, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affumatively allege

that Defendants were no l,nge, actr

g as counsel or Plai_nti_f

131. Answering Paragraph 131, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

132. Answering Paragraph 132, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege

that Defendants were no longer acting as counsel for Plaintiff

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133. Answering Paragraph 133, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants were no longer acting as counsel for Plaintiff

134. Answering Paragraph 134, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Af`firmatively allege
that Defendants were no longer acting as counsel for Plaintiff

135. Answering Paragraph 135, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affumatively allege
that Defendants were no longer acting as counsel for Plaintiff

136. Answering Paragraph 136, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirmatively allege
that Defendants are no longer acting as counsel for Plaintiff

137. Answering Paragraph 137, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof Affirrnatively allege
that Defendants are no longer acting as counsel for Plainti,f

138. Answering Paragraph 138, deny.

139. Answering Paragraph 139, deny.

140, Answering Paragraph 140, deny.

l4l. Answering Paragraph 141, deny.

142. Answering Paragraph 142, deny.

143. Answering Paragraph 143, deny.

144. Answering Paragraph 144, deny.

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145 . Answering Paragraph 145, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

146. Answering Paragraph 146, lack knowledge or information sufficient to form a
belief as to the truth of the matter asserted, and put the Plaintiff to her proof

Summary

Defendants deny each and every allegation in the Surnmary that is not specifically

admitted elsewhere in this Answer.
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Count 1 - Legal Mal]:_iractice

147. Answering Paragraph 147, Defendants incorporate by reference their responses to

the preceding paragraphs Defendants deny that they committed legal malpractice
Count II ~ Bre:g,h of Standard of Care

148. Answering Paragraph 148, Defendants incorporate by reference their responses to

the preceding paragraphs Defendants deny that they breached the standard of care.
Count III - Breach of Contract

149. Answering Paragraph 149, Defendants incorporate by reference their responses to

the preceding paragraphs Defendants deny that they breached any contract with the Plaintiff
Count IV - Negligence

150. Answering Paragraph 150, Defendants incorporate by reference their responses to

the preceding paragraphs. Defendants deny that they committed negligence.
Count V - Misrepresentation
151. Answering Paragraph 15 l, Defendants incorporate by reference their responses to

the preceding paragraphs Defendants deny that they engaged in misrepresentation

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CUl_lt Vi - Negligent Misrepresentation
152. Answering Paragraph 152, Defendants incorporate by reference their responses to
the preceding paragraphs Defendants deny that they engaged in negligent misrepresentation
COUNT VII - Negligent Supervision
DUDLEY DEFENDANT
153. Answering Paragraph 153, Defendants incorporate by reference their responses to
the preceding paragraphs Admit that Laufers and Brown Hohnen were employed by Dudley.
Deny the remaining allegations
154. Answering Paragraph 154, Defendants incorporate by reference their responses to
the preceding paragraphs Defendants deny that Dudley was negligent in its supervision
AFFIRMATIVE DEFENSES

As and for their affirmative defenses in this matter, Defendants allege as follows:

1. The Complaint fails to state a claim against the Defendants
2. The Plaintiff has failed to mitigate her damages
3. Somc of the Plaintiffs claims may be barred by the statute of li,itations

4. The Defendants withdrew as counsel for Plaintiff as of February 7, 2012, and
Plaintiff s damages may be the result of actions taken by successor counsel, Plaintiff’ s
accountants or by Plaintiff herself while acting pro se.

5. Brown Holmen is a personal injury attorney who only spoke briefly to Rapp so
that she could assist in this matter if the wrongful death claims were litigated. Because those
claims were settled at the mediation which Brown Holmen did not attend, she never became

actively involved in the case.

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WHEREFORE, Defendants demand dismissal of all claims against them, costs and

disbursements in this action, and any other relief the Court deems just.

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DEFENDANTS DEMAND TRIAL BY A JURY

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Dated this day cf January, 2018.

BELL, MOORE & RICHTER, S.C.
Attorneys for Defendants, Andrew J.
Laufers, Katherine Brown Holmen, and
Dudley and Smith, PA

By: »€,f¢@¢ /z/, ,MZ”\_

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